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                                    BIPI - Christine Marsh
                                         May 31, 2007

                                                                                    Page 1
                      IN THE CIRCUIT COURT OF

                  MONTGOMERY COUNTY, ALABAMA




      STATE OF ALABAMA,

                Plaintiff,

      vs.                    CIVIL ACTION NO. 2005-219

      ABBOTT LABORATORIES, INC.,

      et al.,

                Defendants.




            *     *      *      *    *    *    *    *



        The videotaped deposition of CHRISTINE G.

      MARSH was taken before Cornelia J. Baker,

      Certified Court Reporter and Certified

      Shorthand Reporter, as Commissioner, on

      Thursday, May 31, 2007, commencing at

      approximately 10:12 a.m., in the law offices

      of Kirkland & Ellis, 153 East 53rd Street,

      New York, New York pursuant to the

      stipulations set forth herein.




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                                                     Page 18                                                        Page 20
 1        A. Yes.                                               1   Record, let me just ask you: Are you here
 2        Q. Okay. So go back to Exhibit 84                     2   today prepared to talk about Topic No. 11?
 3 and let me just -- let me just run through                   3          A. Yes, I am.
 4 these topics and make sure that you're                       4          Q. And are you prepared to talk
 5 prepared to talk about them today, okay?                     5   about Topics 12 and 13 as well?
 6          MR. KAVANAUGH: Can we go off                        6          A. Yes, I am.
 7             the Record for one second?                       7          Q. And flip over to Topic No. 22.
 8          MR. CARTER: Sure.                                   8   Are you prepared today to discuss information
 9          THE VIDEOGRAPHER: Going off                         9   or data that BIPI has purchased or obtained
10             the Record at 10:21 a.m.                        10   through First DataBank and Red Book and
11         (Whereupon an off-the-Record                        11   Medispan and IMS?
12          discussion was held.)                              12          A. Yes, I am.
13          THE VIDEOGRAPHER: Back on the                      13          Q. And flip to Topic 31. Are you
14             Record at 10:24 a.m.                            14   here today prepared to discuss that topic?
15          MR. CARTER: We've had a brief                      15          A. Yes, I am.
16             conversation about the                          16          Q. And are you prepared to discuss
17             numbering of the exhibits.                      17   Topic 32?
18             We referred to the BIPI                         18          A. Yes, I am.
19             deposition notice yesterday                     19          Q. And 33?
20             as Exhibit 84, but for                          20          A. Yes, I am.
21             simplicity's sake in                            21          Q. And 35?
22             today's deposition, we're                       22          A. Yes, I am.
23             going to refer to it as                         23          Q. Right. I want to start with
24             Exhibit 1 just so we don't                      24   Topic No. 33. It's my understanding that --
25             confuse BIPI and Roxane                         25   well, let me ask you: Does BIPI have a
                                                     Page 19                                                        Page 21
 1                 exhibits. So yesterday's                     1   parent company?
 2                 Exhibit 84 will be today's                   2         A. Yes, it does.
 3                 Exhibit 1. Yesterday's                       3         Q. Who is BIPI's parent company?
 4                 Exhibit 85 will be today's                   4         A. It's referred to as BIC.
 5                 Exhibit 2.                                   5         Q. Boehringer Ingelheim
 6             (Whereupon Plaintiffs' BIPI                      6   Corporation, correct?
 7              Marsh Nos. 1 and 2 were marked                  7         A. Yes. That's my understanding.
 8              for identification and attached                 8         Q. What does BIC do?
 9              hereto.)                                        9         A. I just know that it's the
10   BY MR. CARTER:                                            10   parent corporation.
11          Q. So let's go to Exhibit 1, and                   11         Q. Do you know whether or not BIC
12   I'd like to take you through these topics and             12   manufactures drugs?
13   make sure that you're prepared to talk about              13         A. To the best of my knowledge, it
14   them today. All right?                                    14   does not.
15          A. Yes.                                            15         Q. Do you know whether BIC markets
16          Q. The first topic you were                        16   drugs?
17   designated for is Subject Matter No. 1. Do                17         A. Again, to the best of my
18   you see that?                                             18   knowledge, it does not.
19          A. Yes, I do.                                      19         Q. Who is the president of BIC?
20          Q. Are you here today prepared to                  20         A. I believe the president is the
21   talk about BIPI's reasons for signing                     21   CEO, Martin Carroll.
22   Medicaid rebate agreements?                               22         Q. Does Mr. Carroll have ultimate
23          A. Yes, I am.                                      23   authority over BIPI?
24          Q. Okay. Let's go to Topic                         24            MR. KAVANAUGH: Objection to
25   No. 11. And rather than me read it into the               25              form.

                                                                                            6 (Pages 18 to 21)
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                                                   Page 22                                                       Page 24
 1          A. I don't believe that he has                    1   perspective, and ultimately, discussions
 2   ultimate authority over BIPI.                            2   around pricing.
 3          Q. Who's the highest ranking                      3          Q. Are you the person who's
 4   official at BIPI?                                        4   responsible for setting the prices of BIPI
 5          A. You know, I don't know all the                 5   drugs?
 6   officers in BIPI.                                        6          A. I do not have ultimate
 7          Q. Do you know who the CEO is?                    7   responsibility. No, I do not.
 8          A. I know the CEO of BI would be                  8          Q. Who does?
 9   Marty Carroll. So I would assume he's the                9          A. The pricing for BIPI drugs is
10   highest ranking individual.                             10   actually done through a committee. It's --
11          Q. Okay. Where is BIC located?                   11   the recommendations are put together by
12          A. I don't -- I do not know where                12   several different departments, and then the
13   BIC is incorporated.                                    13   recommendation is brought forth to the
14          Q. Have you ever been to the                     14   pricing -- it's referred to as the Pricing
15   offices?                                                15   Terms and Conditions Committee. And they
16          A. I don't know that the offices                 16   will then approve the pricing, and then it
17   for BIC are separate from the offices for               17   will go to the senior management team for
18   BIPI.                                                   18   sign off.
19          Q. Well, whose offices are in                    19          Q. You said the Pricing Terms and
20   Germany?                                                20   Conditions Committee?
21             MR. KAVANAUGH: Objection to                   21          A. Yes, I did.
22                form. I just had to,                       22          Q. How long has this -- to your
23                sorry.                                     23   knowledge, how long has this committee been
24          A. Could you please repeat the                   24   in existence?
25   question?                                               25          A. It's been in existence since
                                                   Page 23                                                       Page 25
 1          Q. Well, let me ask you a better                  1   2000.
 2   one.                                                     2          Q. How many folks are on this
 3          A. Okay.                                          3   committee?
 4          Q. Is there an entity related to                  4          A. Over the years, the individuals
 5   BIPI whose offices are in Germany?                       5   that actually had voting authority have, you
 6             MR. KAVANAUGH: Objection to                    6   know, diminished. There used to be a lot
 7               form.                                        7   more people. Now it's down to four -- four
 8          A. I believe -- I believe the                     8   functional areas that have voting authority.
 9   organization is B-I-G-M-B-H. It's referred               9          Q. And what are those four
10   to as that.                                             10   functional areas?
11          Q. And what's the relationship                   11          A. Finance, also referred to as PM
12   between that entity and BIPI?                           12   Controlling. Sales, marketing, and managed
13          A. It's just referred to as the                  13   markets.
14   corporate or the parent company. That's my              14          Q. Is there a person whose name
15   understanding.                                          15   you could tell me that would be the head of
16          Q. Do you, in your job                           16   finance?
17   responsibilities, ever interact with anyone             17          A. Well, the head of finance --
18   in the parent company?                                  18   are you referring to the PM Controlling
19          A. From time to time, I do, yes.                 19   person that's on the committee?
20          Q. Can you give us an example of                 20          Q. Yes, ma'am.
21   when you would interact with somebody from              21          A. That would be Elizabeth
22   the parent company?                                     22   Cochran.
23          A. From a corporate standpoint, I                23          Q. What does PM stand for?
24   would interact with them when it came to                24          A. Prescription medicines.
25   looking at products from a launch                       25          Q. What about sales, who's on the

                                                                                           7 (Pages 22 to 25)
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 1   committee from sales?                                      1   product, and then it's brought forth again to
 2          A. Bob -- Robert Johnson.                           2   the committee for approval.
 3          Q. What is his title?                               3          Q. Each NDC has its own price,
 4          A. Senior Vice President, Sales.                    4   correct?
 5          Q. What about for marketing?                        5          A. Each NDC within the product,
 6          A. What about for marketing? The                    6   yes.
 7   individual?                                                7          Q. Is that -- I mean, is that a
 8          Q. Yes, ma'am.                                      8   correct statement, that each BIPI NDC has its
 9          A. The individual would be Jeff                     9   on price, correct?
10   Huth.                                                     10          A. That's correct.
11          Q. Can you spell his last name?                    11          Q. How many NDCs does BIPI
12          A. H-U-T-H.                                        12   currently have on the market?
13          Q. What is Jeff's title?                           13          A. I do not know the number
14          A. Senior Vice President,                          14   exactly. I would say it's greater than
15   Marketing.                                                15   fifty.
16          Q. And what was the last grouping?                 16          Q. I think there was some
17          A. Managed markets.                                17   testimony yesterday that it may be between
18          Q. And who is the representative                   18   four hundred and five hundred. Does that
19   of that group on the committee?                           19   sound right to you?
20          A. The individual's name is Chris                  20            MR. KAVANAUGH: Objection to
21   Barrett {phonetic}.                                       21               form; misstates the Record.
22          Q. Is that a guy or a gal?                         22          A. For BIPI?
23          A. That's a -- that's a guy.                       23          Q. Right.
24          Q. Okay. What's his title?                         24          A. No. BIPI doesn't have that
25          A. Senior Vice President, Managed                  25   many NDCs.
                                                     Page 27                                                        Page 29
 1   Markets.                                                   1          Q. Are all of BIPI's NDCs in the
 2           Q. Who else is on the committee                    2   category of brand drugs?
 3   besides these four folks?                                  3          A. All of BIPI's are. Yes, that
 4           A. Technically, those are the only                 4   is correct.
 5   four individuals that have voting rights on                5          Q. What's the relationship between
 6   the committee.                                             6   BIPI and Roxane?
 7           Q. Do they come up with a price                    7          A. They are sister companies.
 8   and recommend it to you, or how does it work?              8          Q. Roxane focuses mostly on
 9           A. No. It's actually between                       9   generic drugs?
10   myself and members of my team. Along with                 10          A. Yes.
11   marketing, we'll come up with a                           11          Q. And BIPI focuses in the brand
12   recommendation for a price. And there's                   12   market, correct?
13   other areas that are involved, market                     13          A. Yes, that is correct.
14   research. There's other areas of the company              14            MR. CARTER: So is that Roxane
15   that are involved in bringing forth that                  15               that had between four
16   recommendation to the committee.                          16               hundred and five hundred
17           Q. And this would be, for                         17               NDCs?
18   instance, when a drug launches?                           18            MR. KAVANAUGH: Yes.
19           A. Yes.                                           19   BY MR. CARTER:
20           Q. What about after a drug has                    20          Q. When did BIPI come into
21   launched, what's the process for changing a               21   existence?
22   price?                                                    22          A. I don't know. I have no idea.
23           A. The process is very similar,                   23          Q. Since you've been there in
24   where marketing is the primary driver of                  24   2001, has this range of NDCs been about the
25   initiating potentially a price change on a                25   same number or has it changed?

                                                                                             8 (Pages 26 to 29)
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 1          A. I would say that it's been                       1   committee consider in determining whether or
 2   about the same number.                                     2   not to change the price of an existing WAC?
 3          Q. What is BIPI's best selling                      3          A. Well, it looks at many
 4   drug?                                                      4   different criteria. One of the primary
 5          A. In terms of . . .                                5   criteria that it does look at is, you know,
 6          Q. Revenue.                                         6   the competitors, what, you know, the
 7          A. Revenue?                                         7   competitive landscape is.
 8             MR. KAVANAUGH: Objection to                      8          Q. What about when -- during a
 9                form.                                         9   drug launch, what's the primary criteria that
10          A. Right now the best selling drug                 10   the committee looks at in determining whether
11   in terms of revenue would be Flomax.                      11   or not to approve a price for a new drug?
12          Q. When this committee comes up                    12          A. Again, if there are -- if
13   with a price, what does it call the price?                13   there's considered any like drugs or any
14          A. It calls the price -- the                       14   competitors on the marketplace, that would be
15   recommendation is for the WAC price.                      15   a driving of -- or that would be one of the
16          Q. And what is the WAC price?                      16   primary criteria they would look at. They
17          A. That is referred to as the WAC                  17   would look at other aspects surrounding
18   or a list price.                                          18   possibly what the value of the proposition
19          Q. Do you understand WAC to mean                   19   would be in the marketplace from a, you know,
20   Wholesale Acquisition Cost?                               20   a physician-patient paired perspective. They
21          A. Yes, I do.                                      21   would take that. And there's research that's
22          Q. And how would you define                        22   done prior to determining the actual price of
23   Wholesale Acquisition Cost?                               23   the product, what that would be.
24          A. Wholesale Acquisition Cost.                     24          Q. Does the committee ever
25          Q. It's the price the wholesaler                   25   consider, for a new drug, the actual
                                                     Page 31                                                        Page 33
 1   pays to acquire the drug, correct?                         1   ingredient cost of the drug?
 2          A. The price that BIPI would sell                   2          A. It's not a primary
 3   the drug, yes, to the wholesaler.                          3   consideration. It is not.
 4          Q. So the committee comes up with                   4          Q. When the committee looks at the
 5   a WAC, or I think you said a list price?                   5   prices of competing drugs, is one of the
 6          A. Well, no. The committee                          6   goals of the committee to set the price lower
 7   doesn't come up with the price.                            7   than competing drugs?
 8          Q. Okay. Tell me how it works.                      8          A. Not necessarily.
 9          A. Okay. The recommendation is                      9          Q. Is it fair to say the committee
10   brought forth from, again, various functional             10   wants to price the drug in a comparable
11   areas. My area of marketing -- it's driven                11   fashion to competing drugs?
12   primarily by marketing. The recommendation                12          A. Again, not necessarily. But,
13   is brought forth to the committee. It's                   13   yes, they can price it relative to. The
14   reviewed with the committee, and then the                 14   recommendation would be brought forth, and
15   committee will vote to approve it.                        15   they could approve it relative to the
16          Q. So a suggested WAC is brought                   16   competitive landscape at that point in time,
17   to the committee, and the committee votes                 17   yes.
18   either to approve it or not approve it?                   18          Q. Are you familiar with the term
19          A. Depending on if it's a newly                    19   "Average Wholesale Price"?
20   launched drug or if it's a drug that's                    20          A. Yes, I am.
21   already on the market. If it's a drug that's              21          Q. What is your understanding of
22   already on the market, it would have a WAC,               22   the meaning of Average Wholesale Price?
23   and the recommendation would be to possibly               23          A. It's commonly referred to as
24   change that WAC.                                          24   AWP. And within the BIPI world, it's
25          Q. What criteria does the                          25   referred to -- commonly referred to as the

                                                                                             9 (Pages 30 to 33)
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